Case 5:15-cv-12619-JCO-MKM ECF No. 35-1 filed 04/07/17      PageID.1639     Page 1 of 1



                             INDEX OF EXHIBITS


 Exhibit A         Loffredo v. Daimler AG, 666 F. App'x 370, 378 (6th Cir. 2016)

 Exhibit B         Intercontinental Elecs., S.p.A. v. Roosen, 210 F. App'x 491, 495
                   (6th Cir. 2006)

 Exhibit C         Kelly Aerospace Thermal Sys., LLC v. ABF Freight Sys., Inc,
                   2016 WL 4374917, at *1 (E.D. Mich. Aug. 17, 2016)

 Exhibit D         Smith v. Honda of Am. Mfg., Inc., 101 F. App’x 20, 25 (6th Cir.
                   2004)

 Exhibit E         Gerton v. Verizon S. Inc., 145 F. App’x 159, 168 (6th Cir.
                   2005)

 Exhibit F         Yarberry v. Gregg Appliances, Inc., 625 F. App’x 729, 741 (6th
                   Cir. 2015)

 Exhibit G         Hurtt v. Int’l Servs., Inc., 627 F. App’x 414, 420 (6th Cir. 2015)

 Exhibit H         Trepka v. Bd. of Educ., 28 F. App'x 455, 463 (6th Cir. 2002)

 Exhibit I         Gleed v. AT & T Mobility Servs., LLC, 613 F. App’x 535, 540
                   (6th Cir. 2015)




 {00044049.DOCX}
